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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


 SEA SALT, LLC,                               )
                                              )
                           Plaintiff,         )
                                              )
               v.                             )           2:18-cv-00413-JAW
                                              )
 MATTHEW BELLEROSE, et al.,                   )
                                              )
                          Defendants          )


                                PROCEDURAL ORDER

       The Court held a telephonic conference on July 14, 2020, to discuss a discovery

issue. After consideration of the issue and the parties’ arguments, for the reasons stated on

the record, the Court finds and orders:

       1. Defendant Amanda Bellerose shall provide Plaintiff with copies of the insurance

          policy pursuant to which an insurance company is providing a defense in this

          matter. Defendant shall also provide Plaintiff with copies of the policies that

          were in effect during the period that is the subject matter of Plaintiff’s claim.

       2. Defendant represented that the insurance company is providing a defense for

          Defendant under a reservation of rights. On or before July 17, 2020, the parties

          shall submit citations to legal authority they believe to be relevant to whether

          Defendant should be required to produce a copy of the reservation of rights letter.

       3. The deadline for Plaintiff to file a reply memorandum in support of Plaintiff’s

          Renewed Motion for Attachment (ECF No. 178) is extended to 14 days
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          following the date on which the Court issues an order on the discoverability of

          the reservation of rights letter.

                                          NOTICE

      Any objections to this order shall be filed in accordance with Federal Rule of Civil
Procedure 72.

                                              /s/ John C. Nivison
                                              U.S. Magistrate Judge

Dated this 14th day of July, 2020.




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